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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

 INFERNAL TECHNOLOGY, LLC, §
 TERMINAL REALITY, INC., §

              Plaintiffs, §

 v. § CIVIL ACTION NO. 2:19-CV-00248-JRG
                                             §
 SONY INTERACTIVE ENTERTAINMENT §
 LLC,                                §
                                             §
              Defenda t. §


                                VERDICT FORM
      In answering the following questions and completing this Verdict Form, you

are to follow all the instructions I have given you in the Court s Final Jury

Instructions. Your answers to each question must be unanimous. Some of the

questions contain legal terms that are defined and explained in detail in the Final

Jury Instructions. You should refer to and consider the Final Jury Instructions as you

answer the questions in this Verdict Form.
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     As used herein, the following terms have the following meanings:



   Plaintiffs collectively refers to Infernal Technology, LLC and Terminal
  Reality, Inc.

  “Defend nt or SIE” refers to Sony Interactive Entertainment, LLC.

  The “ 822 Patent” refers to U.S. Patent No. 6,362,822.

  The “ 488 Patent refers to U.S. Patent No. 7,061,488.

  The “Patents-in-Suit” collectively refers to the 822 Patent and the 488 Patent.

  The Asserted Claims collectively refers to Claim 1 of the ’822 Patent and
  Claims 1, 27, and 50 of the ’488 Patent.

  The Spider-Man Accused Products collectively refers to the video games
  titled Spider-Man, U charted 4: A Thief s End, Uncharted: The Lost Legacy,
   Uncharted 3: Drake s Deception, Uncharted: Nathan Drake Collection, The
  Last of Us, The Last of Us Remastered, Ratchet & Clank, Lnfamous First Light,
  Infamous Second Son, Driveclub, and Planetside 2

  The “God of War Accused Products collectively refers to the video games
  titled God of War, Horizon: Zero Dawn, Killzone: Shado Fall, Knack, and
  Knack II.




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     IT IS VERY IMPORTANT THAT YOU FOLLOW THE
    INSTRUCTIONS PROVIDED IN THIS VERDICT FORM




    READ THEM CAREFULLY AND ENSURE THAT YOUR
           VERDICT COMPLIES WITH THEM




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QUESTION NO. 1


Do you find that Plaintiffs have proven, by a preponderance of the evidence, that

SIE, the Defendant, has infringed any of the following Asserted Claims of the

Patents-in-Suit as indicated below?



Please answer Yes or “No for each accused product as to each asserted claim.



 822 Patent, Claim 1

      Spider-Man Accused Products: Yes:                         No:


      God of War Accused Products: Yes:                         No:


488 Patent, Claim 1
      Spider-Ma Accused Products: Yes:                         No:


      God of War Accused Products: Yes:                        No:


’488 Patent, Claim 27
     Spider-Man Accused Products: Yes:                         No:


      God of War Accused Products: Yes:                        No:


’488 Patent, Claim 50

     PlayStation 3 (any model): Yes:                           No:


     PlayStation 4 (any model): Yes:                           No:




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QUESTION NO. 2


Did Defendant SIE prove by clear and convincing evidence that the Asserted Claims

involve only technologies and activities that were well-understood, routine, and

conventional, from the perspective of a person of ordinary skill in the art, as of March

12, 1999?



      For each claim below, please answer Yes or No .




      Claim 1 of the 822 Patent:                                   No:


      Claim 1 of the 488 Patent:                                   No:


      Claim 27 of the ’488 Patent:                                 No:


      Claim 50 of the ’488 Patent:                                 No:




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               FINAL PAGE OF THE JURY VERDICT FORM
You have now reached the end of the Verdict Form and should review it to ensure it

accurately reflects your unanimous determinations. The Jury Foreperson should then

sign and date the Verdict Form in the spaces below. Once this is done, notify the Court

Security Officer that you have reached a verdict. The Jury Foreperson should keep the

Verdict Form and bring it when the jury is brought back into the courtroom.




Signed this   7 day of October 2021.



                                   ___________________________________
                                  Jury Foreperson




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